Case 2:22-cv-04490-JMA-AYS Document 19 Filed 12/05/22 Page 1 of 2 PageID #: 419




                                                     December 5, 2022




 VIA ECF
 The Honorable Joan M. Azrack
 United States District Judge
 Eastern District of New York
 Long Island Courthouse
 100 Federal Plaza
 Central Islip, NY 11722

        Re:     Sampson v. Stony Brook University, et al.
                2:22-cv-04490

 Dear Judge Azrack:

        The undersigned write in reference to the Status Conference scheduled in the above-
 noticed matter for Friday, December 9, 2022, at 11:30 am eastern. Prior to the entry of the
 Court’s Order setting the Status Conference, Counsel for Plaintiff was previously scheduled to
 appear in a proceeding involving multiple parties at that same time. Therefore, we respectfully
 request a change in the time for the Status Conference.

      Counsel for Plaintiff consulted with Counsel for Defendants and all are available on
 December 9, 2022, between 8:30 and 11:00 am eastern and between 3-5 pm eastern.

                                                     Respectfully Submitted,
                                                     s/Mary C. Vargas
                                                     Mary C. Vargas
                                                     Michael Stein
                                                     STEIN & VARGAS, LLP
                                                     10 G Street NE, Suite 600
                                                     Washington, DC 20002
                                                     Tel. (240)793-3185
                                                     Fax (888)778-4620
Case 2:22-cv-04490-JMA-AYS Document 19 Filed 12/05/22 Page 2 of 2 PageID #: 420




                                                  Mary.Vargas@steinvargas.com
                                                  Michael.Stein@steinvargas.com

                                                  Charles Weiner
                                                  LAW OFFICE OF CHARLES WEINER
                                                  Cambria Corporate Center
                                                  501 Cambria Avenue
                                                  Bensalem, PA 19020
                                                  Tel. (267) 685-6311
                                                  Fax (215) 604-1507
                                                  charles@charlesweinerlaw.com

                                                  Counsel for Plaintiff


 Cc:   Helena Lynch, Assistant Attorney General
       Counsel for Defendants
